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               GI Plum Holdco, LLC; and Quince Holdings
     9         LLC dba Pueblo Springs Rehabilitation Center
    10
    11                        UNITED STATES DISTRICT COURT
    12                      SOUTHERN DISTRICT OF CALIFORNIA
    13   PLUM HEALTHCARE GROUP, LLC, )                 CASE NO. 15CV2747W MDD
         etc., et al.,               )
    14                               )                 DECLARATION OF RICHARD
                       Plaintiffs,   )                 HUVER IN OPPOSITION TO
    15                               )                 DEFENDANTS’ MOTION FOR
         v.                          )                 SUMMARY JUDGMENT OR
    16                               )                 PARTIAL SUMMARY
         ONE BEACON PROFESSIONAL     )                 JUDGMENT
    17   INSURANCE, etc., et al.,    )
                                     )                 Date: April 24, 2017
    18                 Defendants.   )
                                     )                 Judge Thomas J. Whelan
    19                               )
                                     )                 [NO ORAL ARGUMENT
    20                               )                 PURSUANT TO LOCAL RULE]
                                     )
    21
    22
    23         I, RICHARD HUVER, declare and state as follows:
    24         1.     I am an attorney duly licensed to practice law before all the courts in
    25   the State of California and all Federal District Courts in California. I am one of
    26   the attorneys of record for the plaintiffs in the above-entitled matter. The
    27   following facts are of my own personal knowledge and, if called as a witness, I
    28   could and would competently testify to the following:

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     1         2.     This declaration is submitted in opposition to Defendants’ motion
     2   for summary judgment or partial summary judgment.
     3         3.     The first notice of the Harris lawsuit by Plum was on November 14,
     4   2014. (See Defendants’ Exhibit 2.) Claims adjuster Daniele Freaner was first
     5   assigned to handle Plum’s claim on November 17, 2014. (Freaner Dec., ¶7.)
     6         4.     Defendants’ claims file indicates that by November 19, 2014, 2 days
     7   later, Freaner and her supervisor Maureen Ringland, had “decided” to deny
     8   Plum’s claim based solely on the “Insured v. Insured” Exclusion (D)(7).
     9   (Freaner Dec., ¶8, 9, 11.)
    10         5      Defendants’ denial letter dated December 9, 2014, asserted only one
    11   exclusion - Exclusion (D)(7), the “Insured v. Insured” exclusion, as the basis for
    12   denying Plum’s claim for a defense and indemnity against the Harris lawsuit.
    13   (Freaner Dec., ¶15 and Exhibit 5.
    14         6.     Plaintiffs filed suit on December 8, 2015. (Docket No. 1.)
    15         7.     In August 2016, as soon as was permitted by the Court, plaintiffs
    16   served written discovery on defendants, seeking every fact, witness and writing
    17   upon which defendants based their denial of plaintiffs' claim for legal defense
    18   and indemnity against the Harris lawsuit, and requesting the identity of every
    19   paragraph or provision of defendants’ policy which served as the basis for
    20   denying plaintiff’s claim.
    21         8.     Defendants provided their responses on October 13, 2016, in which
    22   they relied on only two Exclusions - (B)(9), the “Owned Auto” exclusion, and
    23   (D)(7), the “Insured v. Insured” exclusion.
    24         9.     Based on defendants’ responses to this discovery, as well as their
    25   initial disclosures which included the denial letters and claims file, plaintiffs
    26   noticed the deposition of Homeland’s claims manager, Maureen Ringland, for
    27   October 15, 2016, traveling to Colorado to do so. Defendants designated Ms.
    28   Ringland as their 30(b)(6) person most qualified to testify to all issues regarding

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     1   the handling and denial of plaintiffs’ claim as well. Plaintiffs later deposed
     2   Homeland’s claims handler Daniele Freanor on January 24, 2017, again based on
     3   and relying on all of the evidence disclosed by defendants.
     4         10.    Defendants’ motion for summary judgment, filed on the motion and
     5   discovery cut-off date, asserted two new policy exclusions for the first time -
     6   (D)(2) and (D)(5). Neither of these exclusions were disclosed by defendants at
     7   any point prior to the discovery cut-off. Eight days after the discovery cut-off
     8   expired, on March 18, 2017, defendants’ new attorneys purported to amend
     9   defendants’ earlier interrogatory responses to assert these new exclusions, while
    10   also adding 8 pages of additional affirmative and factual defenses.
    11         11.    Plaintiffs are severely prejudiced and unfairly surprised by these
    12   late, post discovery cut-off changes of position, assertion of new affirmative
    13   defenses and embellishing on legal and factual defenses. Plaintiffs have
    14   prepared their entire case, conducted written discovery, taken and defended
    15   depositions, and retained an expert who has prepared his Rule 26 Report, at great
    16   time and expense, all based on the positions taken by defendants up to the close
    17   of discovery. To permit defendants to change their positions at this late date,
    18   assert new defenses in their motion for summary judgment, is extremely unfair,
    19   highly prejudicial to plaintiffs’ preparation of this case for trial, and should not
    20   be sanctioned.
    21         12.    On December 29, 2016, plaintiffs served their first set of requests
    22   for admission and second set of special interrogatories on defendant Homeland
    23   Insurance Company. (See attached Exhibit 10.) Responses were due no later
    24   than January 31, 2017. No responses were ever received and no request for an
    25   extension was ever received or granted.
    26         13.    On February 17, 2017, plaintiffs notified defendants in writing of
    27   their failure to timely serve responses to the requests for production. (See
    28   attached Exhibit 11.)

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     1         14.    On February 22, 2017, counsel met and conferred following a failed
     2   settlement conference to discuss certain discovery issues. During this meeting,
     3   defense counsel Matt Elstein and Lorrie Walker were present. Mr. Elstein stated
     4   that defendants had timely served responses to the request for admissions,
     5   claimed that something must have happened in his firms’ mail room, and assured
     6   plaintiffs that he would promptly provide the purportedly timely-served
     7   responses. As of the date of this declaration, no motion for relief from failing to
     8   timely respond to the requests for admission has been filed.
     9         15.    On March 10, 2017, 7 days after defendants’ new attorneys filed
    10   notices of association, attorney Randy Crispen sent an e-mail, attached hereto as
    11   Exhibit 13, wherein he acknowledged that “there was no determination as to
    12   whether Ms. Harris was acting within the course and scope of employment in the
    13   underlying Harris lawsuit.”
    14         16.    Attached hereto as Exhibit 1 is a true and correct copy of portions of
    15   the deposition of Daniele Freaner, Claims Adjuster for defendant Homeland/One
    16   Beacon, taken on January 24, 2017.
    17         17.    Attached hereto as Exhibit 2 is a true and correct copy of portions of
    18   the deposition of Maureen Ringland, Vice President of Homeland, claims
    19   manager, and direct supervisor of Daniele Freaner, taken on October 15, 2016.
    20         18.    Attached hereto as Exhibit 3 is a true and correct copy of portions of
    21   the deposition of John Romero, the Facility Rehabilitation Director for Quince
    22   Holdings, LLC dba Pueblo Springs Rehabilitation at the time of Harris’s
    23   accident, taken on March 31, 2015. The deposition was produced by Wilson
    24   Getty LLP, the attorneys who defended Plum and others in the underlying Harris
    25   v. Plum Healthcare, et al., in response to a third party subpoena for production of
    26   documents served by defendants in this case.
    27         19.    Attached hereto as Exhibit 4 is a true and correct copy of portions of
    28   the deposition of Janice Margaret Nargi, known as Janice Harris at the time of

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     1   the accident and lawsuit, taken on March 29, 2016. The deposition was
     2   produced by Wilson Getty LLP in response to a third party subpoena for
     3   production of documents served by defendants in this case.
     4         20.    Attached hereto as Exhibit 5 is a true and correct copy of the agenda
     5   for the June Lake budget retreat, Bates Nos. WG 575-577, which was produced
     6   by Wilson Getty LLP in response to a third party subpoena for production of
     7   documents served by defendants in this case.
     8         21.    Attached hereto as Exhibit 9 is a true and correct copy of
     9   defendants’ responses to plaintiffs’ interrogatories, set No. 1, setting forth all
    10   bases and policy exclusions relied on by defendant to support its denial of
    11   plaintiffs’ claim, which responses were served October 13, 2016.
    12         22.    Attached hereto as Exhibit 12 is a true and correct copy of the
    13   retainer agreement between plaintiffs and my firm, previously produced and
    14   Bates Nos. Plum 250-252.
    15         23.    Attached hereto as Exhibit 14 is a true and correct copy of
    16   plaintiffs’ experts’ Rule 26 report, dated January 3, 2017.
    17         24.    On April 5, 2017, 5 days before these opposition papers were due,
    18   Homeland’s new attorneys provided copies of what they claim were timely
    19   responses to plaintiffs’ requests for admission. The cover letter asserted the
    20   responses were “produced with the case file from Selman Breitman,”
    21   Homeland’s original attorneys. (See Exhibit 15.) To be sure, no responses were
    22   ever received by my office or my co-counsel, who has a different mailing address
    23   in a different city. Any claim to the contrary will have to be addressed by
    24   Homeland if and when they move for relief from their failure to timely respond
    25   to the requests for admission.
    26         25.    Moreover, Homeland’s new attorneys’ contention that the requests
    27   were timely responded to because he “found” a copy in the Selman Breitman file
    28   does not add up. Plaintiffs notified Homeland’s former attorneys on February

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     1   17, 2017 that the RFAs had not been answered. (Exhibit 13.) Homeland’s
     2   former attorneys told plaintiffs’ counsel a copy of the responses would be
     3   provided after the meet and confer discussion on February 22, 2017. Selman
     4   Breitman remained attorneys of record until March 23, 2017, when notice of
     5   withdrawal was filed with the Court. (Docket No. 45.) At no time since the
     6   notice on February 17th were copies of the purportedly timely RFA responses
     7   ever served. April 5, 2017, was the first time.
     8
     9         I declare under penalty of perjury under the laws of the State of California
    10   and the United States of America that the foregoing is true and correct. Executed
    11   this 10th day of April, 2017, at San Diego, CA.
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    13                                                     /s/ Richard Huver
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     1                     INDEX TO EXHIBITS ATTACHED TO
     2                    DECLARATION OF RICHARD A. HUVER
     3
     4   EXHIBIT NUMBER     DESCRIPTION                                 PAGE NUMBER
     5   1                  Excerpts from Daniele Freaner deposition
     6                      dated January 24, 2017                      008 - 081
     7   2                  Excerpts from Maureen Ringland deposition
     8                      dated October 15, 2016                      082 - 138
     9   3                  Excerpts from John Romero deposition

    10                      dated March 31, 2015                        139 - 162

    11   4                  Excerpts from Janice Margaret Nargi

    12                      deposition dated March 29, 2016             163 - 171
         5                  Agenda for the June Lake budget retreat     172 - 174
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         9                  Defendants’ Responses to Interrogatories,   175 - 185
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                            Set 1, dated October 13, 2016
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         10                 Plaintiffs’ First Set of Requests for       186 - 190
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                            Admission dated December 29, 2016
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         11                 Huver February 17, 2017 letter to defense   191
    18
                            counsel
    19   12                 Retainer Agreement                          192 - 194
    20   13                 E-mail dated March 20, 2017 from Randy
    21                      Crispen                                     195
    22   14                 Plaintiffs’ Experts’ Rule 26 Report dated

    23                      January 3, 2017                             196 - 212

    24   15                 Letter dated April 5, 2017 from Randall

    25                      Crispen to plaintiffs’ counsel              213 - 214

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